21-11298-lgb   Doc 24-15   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit O
                                    Pg 1 of 4




                      EXHIBIT O
21-11298-lgb   Doc 24-15   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit O
                                    Pg 2 of 4
21-11298-lgb   Doc 24-15   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit O
                                    Pg 3 of 4
21-11298-lgb   Doc 24-15   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit O
                                    Pg 4 of 4
